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                 IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF MONTANA

                            BUTTE DIVISION


UNITED STATES OF AMERICA,         1     CR 07-20-BU-DWM

            Plaintiff,

     vs .                         )    ORDER
                                  )
DAVID BURDETT,                    )
                                  )
            Defendant.            )


     United States Magistrate Judge Jeremiah C. Lynch entered

Findings and Recommendation in this matter on August 28, 2007.

Neither party objected and therefore they are not entitled to de

rn review of the record.       28 U.S.C. § 636(b) (1); United States

v. Reyna-Ta~ia,328 F.3d 1114, 1121 (9th Cir. 2003).           This Court

will review the Findings and Recommendation for clear error.

McDonnell Douqlas CorD. v. Commodore Bus. Mach., Inc., 656 F.2d

1309, 1313 (9th Cir. 1981).      Clear error exists if the Court is

left with a "definite and firm conviction that a mistake has been

committed."   United States v. Syrax, 235 F.3d 422, 427 (9th Cir.

2000).

     Judge Lynch recommended this Court accept Burdett's guilty
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plea after Burdett appeared before him pursuant to Federal Rule

of Criminal Procedure 11, and entered his plea of guilty to the

charge of conspiracy to possess cocaine with intent to

distribute, in violation of 2 1 U.S.C. 5 846 (Count I), as set

forth in the Indictment.

     I find no clear error in Judge Lynch's Findings and

Recommendation (dkt #69) and I adopt them in full

    Accordingly, IT IS HEREBY ORDERED that Defendant's motion to

change plea is GRANTED.    Counts I1 and I11 of the Indictment

against Burdett are DISMISSED.

     DATED this       day of September, 2 0 0 7 .




                                                         , Chief Judge
                                                         strict Court
